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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02668-RBJ-CBS

  THOMAS JAMES HARRELL,
      Plaintiff,
  v.

  C/O S. DANIEL, and
  LT. T. VIALPANDO,1
         Defendants.
  ________________________________________________________________________

          RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
  _______________________________________________________________________

  Magistrate Judge Craig B. Shaffer

           This civil action comes before the court on Defendants' “Motion for Summary

  Judgment” (filed June 30, 2011) (Doc. # 28). Pursuant to the Order of Reference dated

  November 17, 2010 (Doc. # 6) and the memorandum dated November 23, 2011 (Doc. #

  47), this matter was referred to the Magistrate Judge. The court has reviewed the Motion,

  Mr. Harrell’s Response (filed December 5, 2011) (Doc. # 51), Defendants’ Reply (filed

  December 7, 2011) (Doc. # 52), the exhibits, the entire case file, and the applicable law and

  is sufficiently advised in the premises.



  I.       Statement of the Case

           Mr. Harrell is currently incarcerated at the Hazelton United States Penitentiary

  (“USP Hazelton”) in Bruceton Mills, West Virginia. (See Federal Bureau of Prisons Inmate

  Locator, www.bop.gov). At all times relevant to the claims in this case, Mr. Harrell was
  incarcerated in the United States Penitentiary in Florence, Colorado (“USP Florence”).

  (See Deposition of Thomas J. Harrell, Exhibit A to Motion (Doc. # 28-1) at 8 of 89). Mr.

  Harrell brings two claims in the Complaint (Doc. # 3) pursuant to Bivens v. Six Unknown

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        This Defendant’s name is spelled as both “Vialpando” and “Viaplando”
  throughout the record.
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  Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971), in violation of his Eighth

  Amendment right “against ‘cruel and unusual punishment.’” (See Doc. # 3 at 3-5 of 15).

  In Claim One, Mr. Harrell alleges that Defendant Daniel “applied nondeadly and/or

  unnecessary force upon my wrists with his hands while I was restrained in handcuffs in the

  Holding Tank . . . .” (See Doc. # 3 at 4-5 of 15). In Claim Two, Mr. Harrell alleges that

  Defendant Vialpando “saw my wrists; however, he denied me medical assessment,” (See

  id. at 5 of 15).2 Mr. Harrell seeks “temporary injunction, transfer,” “money damages,” and

  “‘punitive damages.” (See Doc. # 3 at 8 of 15).

         On October 23, 2009, the date of the events alleged in his claims, Mr. Harrell was

  housed in a single cell in the Special Housing Unit (“SHU”) of USP Florence. (See Doc. #

  28-1 at 15-16 of 89). At approximately 3:00 p.m., correctional officers conducted a search

  of Mr. Harrell’s cell. (See id. at 16-17 of 89). The search was prompted when correctional

  officers smelled smoke near Mr. Harrell’s cell. (See Doc. # 28-1 at 17 of 89). Mr. Harrell

  also smelled smoke in the area. (See id. at 39 of 89).

         Prior to the search of Mr. Harrell’s cell, he was escorted to the “holding tank at C-1

  range” of the SHU. (See Doc. # 28-1 at 18 of 89). Prior to escorting him to the holding cell,

  Defendant Daniel ordered Mr. Harrell to “cuff up.” (See id. at 19 of 89). To “cuff up” meant

  for Mr. Harrell “to put [his] hands behind [his] back and submit to handcuffs” by placing his

  hands through a trap door. (See Doc. # 28-1 at 19-20 of 89). After he was handcuffed, Mr.

  Harrell was escorted to the holding tank. (See id.). Mr. Harrell does not allege that any

  unnecessary or excessive force was used prior to entering the holding tank. (See Doc. #

  28-1 at 22 of 89 (“the force didn’t come until I got inside the holding tank.”)).    After

  entering the holding tank, Mr. Harrell engaged in a similar procedure for his handcuffs to

  be removed. (See Doc. # 28-1 at 23 of 89). To “de-cuff,” Mr. Harrell put his “hands out

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         On September 1, 2011, the court interpreted Mr. Harrell’s “Motion for Jury Trial”
  (Doc. # 29) as a jury demand pursuant to Fed. R. Civ. P. 38 and granted Mr. Harrell’s
  Motion. (See Doc. # 34).
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  under the trap door and [Defendant Daniel] is supposed to uncuff” him. (See id.). The trap

  door was approximately five or six inches wide and a foot long. (See id. at 29-30, 45 of 89).

  At that point, Defendant Daniel “started applying force on my wrists.” (See Doc. # 28-1 at

  21 of 89). Mr. Harrell alleges that after he placed his handcuffed wrists through the

  trapdoor, Defendant Daniel “started applying pressure with his hands on my wrists, . . .

  bending my wrists.” (See Doc # 28-1 at 29, 32, of 89). When Mr. Harrell “tried to pull

  away,” Defendant Daniel tried to pull his hands back through the trapdoor. (See Doc. # 28-

  1 at 32 of 89). This incident occurred for approximately one minute. (See id. at 29, 34 of

  89). Once the handcuffs were removed, Defendant Daniel used no further force. (See

  Doc. # 28-1 at 34-35 of 89). This incident is the complete basis for Mr. Harrell’s excessive

  force claim against Defendant Daniel.

         Defendant Daniel called Defendant Vialpando over and Defendant Vialpando

  “immediately came up,” outside the door of the holding tank. (See Doc. # 28-1 at 23, 25,

  34 of 89). Upon Defendant Vialpando’s arrival, Mr. Harrell’s handcuffs were removed.

  (See id. at 34, 35, 36 of 89). Mr. Harrell alleges that after his handcuffs were removed, he

  showed Defendant Vialpando his wrists and requested to see a nurse. (See Doc. # 28-1

  at 34-35, 37 of 89). Mr. Harrell held up his wrists to show to Defendant Vialpando, “said

  ‘look what he did to my wrists,’” and “request[ed] to see the nurse.” (See id. at 37 of 89).

  Mr. Harrell alleges that his wrists were red and swollen at that time. (See Doc. # 28-1 at

  38 of 89). He was not bleeding. (See id. at 38 of 89). Mr. Harrell alleges that Defendant

  Vialpando “just stood there” for “[n]o more than a minute” and then turned around and

  walked away. (See Doc. # 28-1 at 37-39 of 89).

         After this request, Mr. Harrell did not again ask for medical assessment or treatment

  of his wrists. (See Doc. # 28-1 at 44-45, 58-59 of 89). The next morning, when he saw

  the nurse who delivered his daily medication, Mr. Harrell did not mention any injury to his

  wrists. (See Doc. # 28-1 at 45 of 89). Mr. Harrell knew that he could “put in a sick call”


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  when he wanted to see medical personnel. (See id. at 57-58 of 89). Mr. Harrell does not

  recall putting in any sick call about his wrists. (See Doc. # 28-1 at 45, 57 of 89).



  II.    Standard of Review

         Defendants Daniel and Vialpando move for summary judgment pursuant to Fed. R.

  Civ. P. 56 on the grounds that Mr. Harrell fails to demonstrate a deprivation of his Eighth

  Amendment rights and, in the alternative, that they are entitled to qualified immunity from

  Mr. Harrell’s claims.

                  Summary judgment is proper when there is no genuine issue as to any
         material fact and the movant is entitled to judgment as a matter of law. A
         dispute is “genuine” if the issue could be resolved in favor of either party. A
         fact is “material” if it might reasonably affect the outcome of the case.
                  A movant who does not have the burden of proof at trial must show
         the absence of a genuine fact issue. By contrast, a movant who bears the
         burden of proof must submit evidence to establish every essential element
         of its claim or affirmative defense. In either case, once the motion has been
         properly supported, the burden shifts to the nonmovant to show, by tendering
         depositions, affidavits, and other competent evidence, that summary
         judgment is not proper. All the evidence must be viewed in the light most
         favorable to the party opposing the motion. However, conclusory statements
         and testimony based merely on conjecture or subjective belief are not
         competent summary judgment evidence.

  Wausau Business Ins. Co. v. U.S. Motels Management, Inc., 341 F. Supp. 2d 1180, 1182-

  83 (D. Colo. 2004) (citations omitted).

         “A pro se litigant’s pleadings are to be construed liberally and held to a less stringent

  standard than formal pleadings drafted by lawyers.” Hall v. Bellmon, 935 F.2d 1106, 1110

  (10th Cir. 1991) (citing Haines v. Kerner, 404 U.S. 519, 520-21 (1972)). “The Haines rule

  applies to all proceedings involving a pro se litigant, including . . . summary judgment

  proceedings.” Hall, 935 F.2d at 1110 n. 3 (citations omitted). However, the court cannot

  be a pro se litigant’s advocate. Yang v. Archuleta, 525 F. 3d 925, 927 n. 1 (10th Cir. 2008).

         As the Complaint has been sworn to under penalty of perjury (see Doc. # 3 at 8 of

  15), the court may treat it as an affidavit. Green v. Branson, 108 F.3d 1296, 1301 n. 1

  (10th Cir. 1997). Where the court treats a verified complaint as an affidavit, whether a

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  party's affidavit in opposition to summary judgment is "sufficient to create a genuine issue

  of material fact must be evaluated in light of the principle that conclusory allegations without

  specific supporting facts have no probative value." Nichols v. Hurley, 921 F.2d 1101, 1113

  (10th Cir. 1990) (internal quotation marks and citation omitted). See also Abdulhaseeb v.

  Calbone, 600 F.3d 1301, 1311 (10th Cir. 2010) (“[A] verified complaint may be treated as

  an affidavit for purposes of summary judgment if it satisfies the standards for affidavits set

  out in Rule 56(e).”) (internal quotation marks and citation omitted). “[T]here may be cases

  where the sole reliance on a verified complaint would be insufficient to meet a nonmoving

  party’s burden . . . , especially when the allegations contained in the pleading are merely

  conclusory.” Conaway v. Smith, 853 F.2d 789, 792-93 (10th Cir. 1988). Defendants move

  for summary judgment and submit evidence pertaining to Mr. Harrell’s claims.                 As

  Defendants’ Motion is properly supported, the burden shifts to Mr. Harrell to show, by

  tendering competent evidence, that summary judgment is not proper. The court must

  determine whether Mr. Harrell has met his burden of presenting specific facts to overcome

  Defendants’ Motion.



  III.   Analysis

  A.     Claims against Defendants in their Individual vs. Official Capacities

         Mr. Harrell does not specify whether he is suing Defendants in their official

  capacities, their individual capacities, or both. In Bivens, 403 U.S. at 388, the Supreme

  Court recognized "an implied private right of action for damages against federal officers

  alleged to have violated a citizen's constitutional rights." Correctional Services Corporation

  v. Malesko, 534 U.S. 61, 66 (2001). "If a federal prisoner in a BOP facility alleges a

  constitutional deprivation, he may bring a Bivens claim against the offending individual

  officer, subject to the defense of qualified immunity." Malesko, 534 U.S. at 72. "The

  prisoner may not bring a Bivens claim against the officer's employer, the United States, or


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  the BOP." Malesko, 534 U.S. at 72. See also Simmat v. U.S. Bureau of Prisons, 413 F.3d

  1225, 1231 (10th Cir. 2005) (“a Bivens claim lies against the federal official in his individual

  capacity – not . . . against officials in their official capacity”); Steele v. Federal Bureau of

  Prisons, 355 F.3d 1204, 1214 (10th Cir. 2003) ("a Bivens claim cannot be brought against

  the BOP, as a federal agency, or the other defendants in their official capacities") (citation

  omitted), overruled on other grounds by Jones v. Bock, 549 U.S. 199 (2007); Hatten v.

  White, 275 F.3d 1208, 1210 (10th Cir. 2002) (doctrine of sovereign immunity precludes a

  Bivens action against the United States or any agency thereof); Weaver v. United States,

  98 F.3d 518, 520 (10th Cir. 1996) (claim for damages against a federal defendant in his

  official capacity is treated as a claim against the United States). Sovereign immunity would

  bar any Bivens claim against Defendants in their official capacities. The court thus

  proceeds to evaluate Mr. Harrell’s claims for violation of his Eighth Amendment rights only

  against the individual Defendants in their individual capacities pursuant to Bivens, 403 U.S.

  at 388.3


  B.       Eighth Amendment

           "To establish a Bivens cause of action, a party must have some evidence to support

  finding that [a] federal agent acting under color of such authority violated some cognizable
  constitutional right of plaintiff." Hron v. Jenkins, 15 F. Supp. 2d 1082, 1085 (D. Kan. 1998)

  (citing Bivens, 403 U.S. at 388). The Eighth Amendment prohibits the infliction of "cruel

  and unusual punishments." U.S. CONST. Amend. VIII. “[T]he treatment a prisoner receives

  in prison . . . [is] subject to scrutiny under the Eighth Amendment.” Farmer v. Brennan, 511

  U.S. 825, 832 (1994) (citation omitted). The use of excessive force by a prison official on

  a prisoner can rise to the level of an Eighth Amendment violation. See Northington v.


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        Mr. Harrell does not allege a basis for waiver of sovereign immunity for injunctive
  or mandamus relief. See Simmat, 413 F.3d at 1233-36.
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  Jackson, 973 F.2d 1518, 1523 (10th Cir 1992) (“excessive force claims brought by

  convicted prisoners fall under the rubric of the Eighth Amendment's prohibition against

  cruel and unusual punishment . . . “).

         The Eighth Amendment also prohibits prison officials from being deliberately

  indifferent to the serious medical needs of prisoners in their custody. See Estelle v.

  Gamble, 429 U.S. 97, 104-06 (1976) (“[D]eliberate indifference to serious medical needs

  of prisoners constitutes the ‘unnecessary and wanton infliction of pain’ proscribed by the

  Eighth Amendment.”) (internal quotation marks and citation omitted).              An Eighth

  Amendment claim may arise when a prison official acts with deliberate indifference in

  preventing a prisoner from receiving treatment or denying him access to medical personnel

  capable of evaluating the need for treatment. Sealock v. Colorado, 218 F.3d 1205, 1211

  (10th Cir. 2000).



         1.     Excessive Force Claim

         Mr. Harrell’s claim against Defendant Daniel for excessive force is based on a

  minute-long period when he pulled down on Mr. Harrell’s wrists from the other side of the

  trap door while removing his handcuffs. Mr. Harrell’s argument in opposition to the Motion

  for Summary Judgment is that the force used to remove his handcuffs through the trapdoor

  was “unnecessary force.” (See Doc. # 51 at 2 of 3). The pivotal inquiry in an excessive

  use of force claim is whether force was applied in a good-faith effort to maintain and restore

  discipline, or maliciously and sadistically to cause harm. Despain v. Uphoff, 264 F.3d 965,

  978 (10th Cir. 2001) (citing Whitley v. Albers, 475 U.S. 312, 320-21 (1986)). An excessive

  force claim under the Eighth Amendment “involves two prongs: (1) an objective prong that

  asks if the alleged wrongdoing was objectively harmful enough to establish a constitutional

  violation, and (2) a subjective prong under which the plaintiff must show that the officials

  act[ed] with a sufficiently culpable state of mind.” Smith v. Cochran, 339 F.3d 1205, 1212


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  (10th Cir. 2003). As to the objective element, “de minimis uses of physical force are

  excluded from the cruel and unusual punishment inquiry unless ‘repugnant to the

  conscience of mankind.’” Ali v. Dinwiddie, 437 F. App’x 695, 700 (10th Cir. Aug. 26, 2011)

  (quoting Hudson v. McMillian, 503 U.S. 1, 9-10 (1992).4 “The subjective element of an

  excessive force claim turns on whether force was applied in a good faith effort to maintain

  or restore discipline or maliciously and sadistically for the very purpose of causing harm.”

  Smith, 339 F.3d at 1212 (internal quotation marks and citations omitted). Mr. Harrell

  establishes neither element of his excessive force claim.

         First, the evidence shows that Defendant Daniel did not use more than de minimis

  force when he pulled down on Mr. Harrell’s wrists from the other side of the trap door while

  removing his handcuffs. The evidence before the court shows that the force used to

  remove Mr. Harrell’s handcuffs was too de minimis to constitute an Eighth Amendment

  violation. See Cicio v. Kourofsky, 2010 WL 5138546, at *1 (N.D.N.Y. 2010) (finding that

  pulling “[plaintiff] towards his cell door using a retention strap and forc[ing] his hands

  through the slot in order to remove [his] handcuffs” was not excessive force); Benitez v.

  Ham, 2009 WL 3486379, at * 16 (N.D.N.Y. Oct. 21, 2009) (holding that refusing to remove

  restraints around an inmate's wrists after knowing that it was causing the inmate “‘extreme

  pain’ and ‘severe swelling’” was not “repugnant to the conscience of mankind”); Armstead

  v. Braxton, 2006 WL 1344061, at *4 (W.D. Va. Apr. 18, 2006) (finding that jerking of “leash”

  attached to inmate’s handcuffs while removing inmate's restraints, causing inmate's hands

  to hit the cell door, “was not such an extreme use of force to be considered ‘repugnant to

  the conscience of mankind.’”).

         Next, the evidence demonstrates at most a de minimis injury associated with this

  claim. The nature of the injuries is only one factor in the determination of whether the use

  of excessive force constituted an Eighth Amendment violation. See Wilkins v. Gaddy, 130

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         Copies of unpublished cases cited are attached to this Recommendation.
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  S.Ct. 1175, 1178 (2010) (“This is not to say that the ‘absence of serious injury’ is irrelevant

  to the Eighth Amendment inquiry.”) (quoting Hudson, 503 U.S. at 7 (“absence of a

  significant injury is therefore relevant to the Eighth Amendment inquiry, but does not end

  it”)); United States v. LaVallee, 439 F.3d 670, 688 (10th Cir. 2006) (“degree of injury may

  be highly relevant to the determination of the unreasonableness of the force used”);

  Northington v. Jackson, 973 F.2d 1518, 1523 (10th Cir. 1992) (“significant physical injury

  not required because constitutional inquiry focuses on whether infliction of pain was

  unnecessary and wanton). Mr. Harrell submits that his wrists were red and swollen until

  the next morning. It is undisputed that Mr. Harrell did not seek medical treatment after the

  day of the incident. Mr. Harrell alleges no physical impairment resulting from the events

  on October 23, 2009. Redness and swelling associated with the use of handcuffs do not

  arise to the level of an Eighth Amendment violation. See Perez v. Sisto, 2010 WL

  2880165, at *13 (E.D. Cal. July 21, 2010) (“Even accepting that the handcuffs were too

  tight and caused him some pain, numbness or other discomfort for up to half an hour or so,

  plaintiff simply does not raise a genuine issue of material fact as to this specific claim

  against defendant . . . that rises to the level of an Eighth Amendment violation . . . .”), report

  and recommendation adopted as modified by, 2011 WL 1100122 (E.D. Cal. 2011); Thomas

  v. Mail Room Staff, 2006 WL 213714, at * 4 (W.D. Va. Jan. 10, 2006) (citation omitted)

  (pulling of arms while removing handcuffs, causing inmate’s hands and arms to jerk

  backwards through the tray slot resulting in a “BIG MARK” and some swelling on his wrist

  did not present circumstances in which inmate could prevail on an excessive force claim

  when he suffered only de minimis injury) (emphasis in original); Williams v. Evers, 2002

  WL 32362653, at * 4 (W.D. Wis. June 10, 2002) (“slight swelling and very minor lacerations

  on” wrist suggests force used was not more “than necessary under the circumstances”).

  “[S]ome jostling and even a ‘jerk[ing]’ of an inmate's arms and hands while removing

  handcuffs through a narrow tray slot is both reasonable and expected.” Thomas, 2006 WL


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   213714, at * 4. The de minimis nature of the alleged injury is consistent with the evidence

   that the force used to remove Mr. Harrell’s handcuffs was too de minimis to constitute an

   Eighth Amendment violation.

          Third, Mr. Harrell does not present any evidence to show that Defendant Daniel

   sadistically or maliciously applied force for the purpose of causing harm. Mr. Harrell’s own

   evidence indicates that he pulled away while Defendant Daniel was removing his handcuffs

   and that Defendant Daniel responded by pulling against his wrists.                 Based on the

   undisputed facts, Defendant Daniel could have reasonably concluded that Mr. Harrell’s

   action necessitated this de minimis use of force. See Wilson v. Hall, 2010 WL 2038907,

   at * 7 (W.D.Va. May 20, 2010) (“mere fact that [Defendant’s] rate of pull on the strap may

   not have been a ‘perfectly measured response’ to the situation, however, does not prove

   that he initiated a pull of that strength with malicious intent to inflict harm on [Plaintiff]”). It

   is undisputed that once the handcuffs were off, the force ended. Mr. Harrell does not allege

   or demonstrate that Defendant Daniel acted with a sufficiently culpable state of mind, the

   second prong of an Eighth Amendment excessive force claim. Under the facts of this case,

   Defendant Daniel is entitled to summary judgment on Mr. Harrell’s excessive force claim.



          2.      Claim for Denial of Medical Assessment

          Mr. Harrell also alleges that Defendant Vialpando denied him medical assessment

   related to his injury from the pulling down on his wrists while removing his handcuffs

   through the trap door. Mr. Harrell brings this Eighth Amendment claim based on the

   allegation that he showed Defendant Vialpando his wrists, “said ‘look what he did to my

   wrists,’” and “request[ed] to see the nurse.” (See id. at 37 of 89). Defendant Vialpando did

   not take Mr. Harrell to see the nurse.

          An inmate’s claim of inadequate medical care amounts to an Eighth Amendment

   violation if the inmate shows “acts or omissions sufficiently harmful to evidence deliberate


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   indifference to serious medical needs.” Estelle, 429 U.S. at 106. An Eighth Amendment

   claim involves “a two-pronged inquiry, comprised of an objective component and a

   subjective component.” Self v. Crum, 439 F.3d 1227, 1230 (10th Cir. 2006). “Under the

   objective inquiry, the alleged deprivation must be sufficiently serious to constitute a

   deprivation of constitutional dimension.” Self, 439 F.3d at 1230 (internal quotation marks

   and citation omitted). “[A] medical need is sufficiently serious if it is one that has been

   diagnosed by a physician as mandating treatment or one that is so obvious that even a lay

   person would easily recognize the necessity for a doctor's attention.” Mata v. Saiz, 427

   F.3d 745, 751 (10th Cir. 2005) (internal quotations marks and citation omitted). Under the

   subjective inquiry, the defendant must have acted with a “sufficiently culpable state of

   mind.” Wilson v. Seiter, 501 U.S. 294, 298 (1991). To meet the subjective component of

   an Eighth Amendment claim, a plaintiff must establish the defendant “knew he faced a

   substantial risk of harm and disregarded that risk, ‘by failing to take reasonable measures

   to abate it.’” Hunt v. Uphoff, 199 F.3d 1220, 1224 (10th Cir. 1999) (quoting Farmer, 511

   U.S. at 847). For a prison official to be found liable of deliberate indifference under the

   Eighth Amendment, “the official must ‘know[] of and disregard[] an excessive risk to inmate

   health and safety; the official must both be aware of facts from which the inference could

   be drawn that a substantial risk of harm exists, and he must draw the inference.’” Perkins

   v. Kansas Dept. of Corrections, 165 F.3d 803, 809 (10th Cir. 1999) (quoting Farmer, 511

   U.S. at 837).

          To the extent a correctional officer is serving as a “gatekeeper” for medical

   personnel capable of treating an inmate's condition, he or she may be liable under the

   Eighth Amendment to the extent that they delayed or refused to fulfill that gatekeeper role.

   See Mata, 427 F.3d at 751 (quoting Sealock, 218 F.3d at 1211); Edmisten v. Werholtz,

   287 F. App'x 728, 733 (10th Cir. Aug. 1, 2008) (Failure to fulfill a gatekeeper role, if proven,

   satisfies the test for deliberate indifference under the Eighth Amendment.) An Eighth


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   Amendment claim may arise when a prison official acts with deliberate indifference in

   preventing a prisoner from receiving treatment or denying him access to medical personnel

   capable of evaluating the need for treatment. Sealock, 218 F.3d at 1211. The Eighth

   Amendment may be violated if the professional “knows that his [or her] role in a particular

   medical emergency is solely to serve as a gatekeeper for other medical personnel capable

   of treating the condition, and if he [or she] delays or refuses to fulfill that . . . role due to

   deliberate indifference.” Id.

            Mr. Harrell alleges that his wrists were red and swollen until the next morning. Mr.

   Harrell did not complain to anyone of any pain. He had an opportunity within less than 24

   hours to speak with BOP medical staff during medication rounds at his cell, but he did not

   report any injury. Mr. Harrell knew how to utilize BOP procedures to request medical care,

   yet did not further seek medical treatment for his wrists. The evidence shows that Mr.

   Harrell did not suffer a sufficiently serious medical need. See Wesson v. Oglesby, 910 F.2d

   278, 284 (5th Cir. 1990) (inmate's alleged injuries of "swollen wrists with some bleeding"

   caused by handcuffs that were too tight "do not constitute such a 'serious medical need'

   that any minor delay caused by the defendants in delivering [inmate] to the care of medical

   personnel could be construed as ‘deliberate indifference’ ”). See also Pinkston v. Madry,

   440 F.3d 879, 891 (7th Cir. 2006) (split lip and a swollen cheek do not rise to the level of

   an objectively serious medical need); Martin v. Gentile, 849 F.2d 863, 871 (4th Cir. 1988)

   (small cut with some bleeding was not a serious medical need); Ashford v. Barry, 737 F.

   Supp. 1, 3 (D.D.C. 1990) (being kicked in the leg does not establish a serious medical

   need).

            Second, Mr. Harrell fails to adequately demonstrate the subjective component of an

   Eighth Amendment claim: that Defendant Vialpando acted with deliberate indifference. The

   entire extent of Mr. Harrell’s claim is that he showed Defendant Vialpando his wrists, “said

   ‘look what he did to my wrists,’” and “request[ed] to see the nurse.” (See Doc. # 28-1 at 37


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   of 89). The court has concluded that Mr. Harrell does not establish he had a sufficiently

   serious injury that needed assessment or treatment. Mr. Harrell neither alleges nor

   establishes that Defendant Vialpando “knew he faced a substantial risk of harm and

   disregarded that risk, by failing to take reasonable measures to abate it.” Callahan v.

   Poppell, 471 F.3d 1155, 1159 (10th Cir. 2006) (internal quotation marks and citation

   omitted).   As Mr. Harrell fails to establish the subjective component of his Eighth

   Amendment claim summary judgment is properly granted on Mr. Harrell’s claim for denial

   of medical assessment on October 23, 2009.



          3.     Qualified Immunity

          To the extent that Mr. Harrell is suing Defendants in their individual capacities,

   Defendants raise the defense of qualified immunity. Whether a defendant is entitled to

   qualified immunity is a legal question. Wilder v. Turner, 490 F.3d 810, 813 (10th Cir. 2007).

          Resolution of a dispositive motion based on qualified immunity involves a
          two-pronged inquiry. First, a court must decide whether the facts that a
          plaintiff has alleged or shown make out a violation of a constitutional right.
          Second, . . . the court must decide whether the right at issue was clearly
          established at the time of the defendant's alleged misconduct.

   Herrera v. City of Albuquerque, 589 F.3d 1064, 1070 (10th Cir. 2009) (internal quotation

   marks and citations omitted). “A reviewing court may exercise [its] sound discretion in

   deciding which of the two prongs of the qualified immunity analysis should be addressed

   first in light of the circumstances in the particular case at hand.” Id. “Qualified immunity is

   applicable unless” the plaintiff can satisfy both prongs of the inquiry. Id.

          As the court has concluded in this Recommendation that Mr. Harrell fails to establish

   any constitutional violation by Defendants Daniel or Vialpando, the court need not reach

   the “clearly established” prong of qualified immunity to conclude that summary judgment

   is correctly granted in favor of Defendants. Defendants in their individual capacities are

   entitled to qualified immunity. See Wilder, 490 F .3d at 815 (instructing district court on


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   remand to enter judgment in favor of defendant on basis of qualified immunity, where

   plaintiff failed to carry his burden to show violation of a constitutional right).



   C.     Conclusion

          The evidence, even viewed in the light most favorable to Mr. Harrell, is insufficient

   to establish all of the elements of his claims. Defendants have qualified immunity and are

   entitled to summary judgment on the Complaint. Accordingly,

          IT IS RECOMMENDED that Defendants’ “Motion for Summary Judgment” (filed June

   30, 2011) (Doc. # 28) be GRANTED and judgment enter on the Complaint (Doc. # 3) in

   favor of Defendants and against Plaintiff.



   Advisement to the Parties

          Within fourteen days after service of a copy of the Recommendation, any party may

   serve and file written objections to the Magistrate Judge’s proposed findings and

   recommendations with the Clerk of the United States District Court for the District of

   Colorado. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583

   (10th Cir. 1995). A general objection that does not put the District Court on notice of the

   basis for the objection will not preserve the objection for de novo review. “[A] party’s

   objections to the magistrate judge’s report and recommendation must be both timely and

   specific to preserve an issue for de novo review by the district court or for appellate review.”

   United States v. One Parcel of Real Property Known As 2121 East 30th Street, Tulsa,

   Oklahoma, 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to make timely objections may bar

   de novo review by the District Judge of the Magistrate Judge’s proposed findings and

   recommendations and will result in a waiver of the right to appeal from a judgment of the

   district court based on the proposed findings and recommendations of the magistrate

   judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (District Court’s


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   decision to review a Magistrate Judge’s recommendation de novo despite the lack of an

   objection does not preclude application of the “firm waiver rule”); International Surplus

   Lines Insurance Co. v. Wyoming Coal Refining Systems, Inc., 52 F.3d 901, 904 (10th Cir.

   1995) (by failing to object to certain portions of the Magistrate Judge’s order, cross-claimant

   had waived its right to appeal those portions of the ruling); Ayala v. United States, 980

   F.2d 1342, 1352 (10th Cir. 1992) (by their failure to file objections, plaintiffs waived their

   right to appeal the Magistrate Judge’s ruling). But see, Morales-Fernandez v. INS, 418

   F.3d 1116, 1122 (10th Cir. 2005) (firm waiver rule does not apply when the interests of

   justice require review).


          DATED at Denver, Colorado, this 27th day of January, 2012.


                                                      BY THE COURT:




                                                         s/Craig B. Shaffer
                                                      United States Magistrate Judge




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